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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 TEKION CORPORATION,
              Plaintiff
         v.
                                                            Civil Action No. 19-437 (CKK)
 UNITED STATES CITIZENSHIP AND
 IMMIGRATION SERVICES, et al.,
              Defendants


                                             ORDER
                                       (September 27, 2019)

       The Court is in receipt of Plaintiff’s [12] Stipulation of Dismissal. Pursuant to Federal
Rule of Civil Procedure 41(a)(1), it is stipulated and agreed by the parties that this action is
dismissed without costs or attorneys’ fees to either party. Accordingly, it is hereby ORDERED
this case is DISMISSED.

                                                          /s/
                                                       COLLEEN KOLLAR-KOTELLY
                                                       United States District Judge
